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                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS


DAVID MOSS                           )
                                     )
       Plaintiff,                    )
                                     )                    Case No. 09-1196
       v.                            )
                                     )
MICHAEL J. ASTRUE                    )
Commissioner of Social Security      )
Administration,                      )
                                     )
       Defendant.                    )



                                          ORDER

       This matter is now before the Court on Plaintiff’s Motion for Summary Reversal and the

Commissioner’s Motion for Affirmance. For the reasons set forth below, Plaintiff’s Motion for

Summary Reversal [#10] is DENIED, and the Commissioner’s Motion for Summary Affirmance

[#13] is GRANTED.

                                         BACKGROUND

       David Moss (“Moss”) was 49 years old at his 2008 hearing (R2134). He is 6’4” and

weighs 190 lbs. Id. He does not have any children and has been divorced since 1993. (R2063)

Although at the time of his hearing Moss had a private residence, he had previously resided at

different shelters. (R981, 2118) Moss graduated from high school and attended three years of

college. (R2065) His employment history is diverse. Moss has worked as a radio announcer,

house renovator, DJ, and at various other occupations (R2066-67, 2069-70, 2072). Moss last

worked in 2004 for Custom Renovators where he helped remodel houses and apartment

complexes. (R2067)




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       On May 23, 2005, (R424) Moss 1 filed for disability insurance benefits (“DIB”), alleging

back problems, panic disorder, and depression. (R433) The Social Security Administration

(“SSA”) denied his application because he was “able to do light-unskilled work.” Id. The SSA

also denied Moss’s request for reconsideration. (R435) He then filed for an Administrative Law

Judge (“ALJ”) hearing (R439), which ALJ Alice Jordan heard on April 24, 2007. (R2057) The

ALJ denied Moss’s claim, and Moss requested a review of her decision. (R21) The Appeals

Council remanded the case. (R2109) Three people testified at the rehearing: Moss, who was

represented by counsel; Moss’s case manager, Pepper Kenney; and Paul Gustafson, a

Vocational Expert (“VE”). (R2113, 2125, 2134) ALJ Jordan again denied Moss’s claim. (R38).

On May 01, 2009, the Appeals Council denied Moss’s request for review, and the ALJ’s

decision became the final decision of the Commissioner. (R14)

       Moss testified that back pain 2 and a pinched nerve in his neck limited his abilities. (2114-

2115) According to Moss, he could only turn his neck a short distance, and pain made it difficult

for him to sit, sleep, or lay on his stomach and sides. Id. Moss also testified that problems with

his left leg required him to use a cane. Id. Moss claimed that the weakened leg would

sometimes go numb down to the foot. (R2114) Moss said that he could sit in a position for only

fifteen minutes before his back and shoulders bother him. (R2119) He admitted that he could

watch television and read but claimed he could not use a computer without a great deal of pain.

(R2121)

       In addition to his physical ailments, Moss also faced various mental limitations. He

testified that he was depressed and that being around people made him anxious. (R2115-16)

Moss claimed his depression and anxiety caused him to isolate himself. Id. Moss testified that
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 Moss has applied for DIB on two other occasions (August 7, 2000 and September 13, 2001)
and was denied both claims as well as his requests for reconsideration. (R45, 49, 55, 59) Moss
also requested an Administrative Law Judge hearing in which Judge John M. Wood ruled that
Moss “is not disabled within the meaning of the Social Security Act.” (R412)
2
 Moss previously underwent an L5-S1 decompression and fusion in 2005 to help his back.
(R1018-1019)

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he feared interacting with people (R2121) and that he had attempted suicide. (R2118) He had,

however, socialized with people other than his case manager and physicians. (R2123) Moss

sought help for his anxiety and depression through inpatient, (R917, 929, 978, 1000) and

outpatient treatment. (R661-85) Various treating physicians further noted that Moss was

manipulative and motivated by his desire for drugs and a bed. (R918, 1114, 1250-51)

        In Moss’s Residual Functional Capacity Assessment, the consulting physician, Burris

Stanley, diagnosed Moss with Spondylolisthesis and an L5-S1 Decompression and Fusion.

(R686) The consulting physician concluded that Moss could, despite his physical ailments,

“perform a wide range of light work.” (R693) The consulting physician of Moss’s Psychiatric

Review Technique, Brister Phyllis, wrote that Moss had a panic disorder, Dysthymia, and

displayed signs of cocaine abuse and drug seeking behavior. (R706) The consulting physician

also concluded that Moss had mild restrictions as to daily living, moderate difficulties with social

functioning, moderate difficulties maintaining concentration, persistence, or pace, and one or

two episodes of decompensation. (R704) Consequently, the consulting physician concluded

that the evidence did not establish the presence of “C” criterion. (R705) Moss’s Mental

Residual Functional Capacity Assessment confirmed that Moss did not suffer any marked

limitations. (R708-09) The consulting physician concluded that Moss “remains cognitively intact

and able to understand, recall and execute at least simple operations of a routine, repetitive

nature” and that Moss could “tolerate occasional social contacts and adapt to routine.” (R710)

        In determining whether Moss had a severe impairment under step 2, the ALJ examined

various aspects of Moss’s medical history. (R28-32) While examining Moss’s medical

treatment, the ALJ noted that Moss had been hospitalized in May 2005 for depression and had

a GAF of “55 to 60.” (R29) The ALJ ultimately found that Moss’s impairments were severe.

(R28)

        However, the ALJ also found that Moss’s limitations did not satisfy step 3 criteria. Step 3

requires the ALJ to determine whether the claimant’s disorders meet or exceed disorders listed

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in 20 C.F.R. Part 404, Subpart P, Appendix 1. Moss’s back impairment did not “satisfy” the

spinal disorder Listing (1.04) because “there is no evidence of nerve root compression,

radiculopathy or cauda equine syndrome, spinal arachnoiditis manifested by severe burning, or

painful dysesthesia resulting in the need for changes in position or posture more than once

every 2 hours, or lumbar spinal stenosis.” (R32) The ALJ also found that Moss’s mental

impairments did not satisfy Listing 12.04 (affective disorders) and 12.09 (substance addiction

disorders) Criteria because Moss had no marked difficulties and no episodes of

decompensation. (R32-33) Since, among other activities, Moss was capable of doing laundry

and dishes, picking up after himself, and mowing his lawn, the ALJ found him to be only mildly

restricted in activities of daily living. (R33) Because Moss had friends and family and interacted

pleasantly with examiners, the ALJ found that he only had moderate social difficulties. Id. The

ALJ ruled that because treatment notes indicated Moss did not suffer from a “loss of cognitive

function,” he did not have a marked limitation “[w]ith regard to concentration, persistence or

pace.” Id. Moss’s Mental Residual Functional Capacity Assessment supports the ALJ’s

conclusion. (R708) Finally, the ALJ also found that Moss did not suffer episodes of

decompensation and that “the evidence failed to establish the presence of ‘paragraph C’

criteria.” (R33) Consequently, the ALJ ruled that Moss did not have an impairment that “meets

or medically equals” the Listings. (R32)

       The ALJ did not give controlling weight to all of the evidence presented. Moss’s case

manager, in a written assessment undersigned by Dr. Bitar, reported on June 7, 2006, that

Moss had “marked limitations in following work rules, using judgment, functioning independently

and maintaining attention and concentration . . . understanding, remembering and carrying out

simple job instructions.” (R31) She also concluded that Moss had extreme limitations “relating

to co-workers, dealing with the public, interacting with supervisors . . . dealing with work

stresses . . . behaving in an emotionally stable manner, relating predictably in social situations

and demonstrating reliability.” Id. The ALJ did not afford the June 7, 2006, report controlling

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weight because she found it to be inconsistent “with the record as a whole . . .” and it was

“based on personal observation rather than formal testing.” Id. On page 11 of her opinion, the

ALJ separately addressed Dr. Bitar’s signature on the report. (R36) The ALJ did not give

controlling weight to Dr. Bitar’s opinion. Id. As with the caseworker, the ALJ found that Dr.

Bitar’s assessment was “. . .internally inconsistent with the record. . .” and that there was “no

significant reason” to believe that Moss’s manipulative behavior, noted by several other doctors,

would be any different “before his case worker or psychiatrist.” Id.

       The ALJ also did not afford controlling weight to statements Moss made. The ALJ found

that although Moss’s “impairments could reasonably be expected to produce the alleged

symptoms . . . the claimant’s statements concerning the intensity, persistence and limiting

effects of these symptoms are not credible to the extent that they are inconsistent with the

residual functional capacity assessment for the reasons explained.” (R34) (emphasis added).

       At the trial, the VE presented a hypothetical to determine how many jobs Moss was

qualified to perform. The VE testified that his “data is gathered statistically through the use of

census codes” that are “part of the ALNAT [sic] system.” (R2138) Moss did not object to the

VE’s use of the ONET system. The ALJ found that the VE’s testimony was “consistent with the

information contained in the Dictionary of Occupational Titles” (“DOT”) pursuant to “SSR 00-4p”

and ruled that Moss was “not disabled.” (R38) The ALJ’s decision on August 29, 2008, is the

final decision of the commissioner Id. This appeal followed. The Court has jurisdiction over this

action pursuant to 42 U.S.C. § 405(g).

                                               DISCUSSION

       In order to be entitled to DIB, a plaintiff must show that his or her inability to work is

medical in nature and that he or she is totally disabled. Economic conditions, personal factors,

financial considerations, and attitudes of employers are irrelevant in determining whether a

plaintiff is eligible for disability benefits. See C.F.R. §§ 404.1566, 416.966 (1986).



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         The establishment of disability under the Act is a two-step process. First, the plaintiff

must be suffering from a medically determinable physical or mental impairment, or combination

of impairments, which can be expected to result in death, or which has lasted or can be

expected to last for a continuous period of not less than 12 months. 42 U.S.C. §

1382(c)(a)(3)(A). Second, there must be a factual determination that the impairment renders

the plaintiff unable to engage in any substantial gainful employment. McNeil v. Califano, 614

F.2d 142, 143 (7th Cir. 1980). That factual determination is made by using a five-step test. See

20 C.F.R. §§ 404.1520, 416.920.

         The five-step test is examined by the ALJ, in order, as follows: (1) is the plaintiff

presently unemployed; (2) is the plaintiff’s impairment “severe” (20 C.F.R. §§ 404.1521,

416.921); (3) does the impairment meet or exceed one of the list of specified impairments (20

C.F.R. Part 404, Subpart P, Appendix 1); (4) is the plaintiff unable to perform his or her former

occupation; and (5) is the plaintiff unable to perform any other work within the national

economy?

         An affirmative answer at any step leads either to the next step of the test, or at steps 3

and 5, to a finding that the plaintiff is disabled. A negative answer at any point, other than at

step 3, stops the inquiry and leads to a determination that the plaintiff is not disabled. Garfield v.

Schweiker, 732 F.2d 605 (7th Cir. 1984).

         The plaintiff has the burdens of production and persuasion on steps 1 through 4.

However, once the plaintiff shows an inability to perform past work, the burden shifts to the

Commissioner to show ability to engage in some other types of substantial gainful employment.

Tom v. Heckler, 779 F.2d 1250 (7th Cir. 1985); Halvorsen v. Heckler, 743 F.2d 1221 (7th Cir.

1984).

         The Court’s function on review is not to try the cases de novo or to supplant the ALJ’s

finding with the Court’s own assessment of the evidence. Pugh v. Bowen, 870 F.2d 1271 (7th

Cir. 1989). The Court must only determine whether the ALJ’s findings were supported by

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substantial evidence and whether the proper legal standards were applied. Delgado v. Bowen,

782 F.2d 79, 82 (7th Cir. 1986). In determining whether the ALJ’s findings are supported by

substantial evidence, the Court must consider whether the record, as a whole, contains “such

relevant evidence as a reasonable mind might accept as adequate to support a conclusion.”

Richardson v. Perales, 402 U.S. 389, 401, 91 S.Ct. 1420 (1971). Credibility determinations

made by the ALJ will not be disturbed unless the finding is clearly erroneous. Anderson v.

Bessemer City, 470 U.S. 564, 573, 105 S.Ct. 1504 (1985); Imani v. Heckler, 797 F.2d 508 (7th

Cir.), cert. denied, 479 U.S. 988, 107 S.Ct. 580 (1986).

        In his appeal, Moss raises several claims: (1) the ALJ improperly played doctor; (2) the

ALJ needed to do a point-by-point analysis of the Listings; and (3) the Commisioner did not

meet its burden at step 5 because the VE’s use of the ONET system prevents Moss from

corroborating the hypothetical. The Court disagrees and finds that the ALJ did not play doctor,

did not need to do a point by point analysis, and that the VE’s use of ONET did not undermine

the Commissioner’s proof. (R38)

        Moss first argues that the ALJ would have found a disability if she had examined “the

entire mental health record.” Brief of Moss at 35, Moss v. Astrue, No. 09-1146 (C.D. Ill. Nov. 30,

2009). Moss claims the ALJ’s examination of his May 2005 hospitalization for depression is

underinclusive and that if the ALJ had properly considered his ongoing medical treatment, she

would have found paragraph A and B criteria met and Moss disabled. Id. The paragraph Moss

cites is part of the ALJ’s step 2 analysis. (R29) The ALJ used this evidence to conclude that

Moss’s limitations are severe under step 2, not to determine whether Moss satisfied step 3.

(R29, 32) Additionally, within step 2, the ALJ did a comprehensive examination of Moss’s

ongoing mental health treatments. 3 Thus, the ALJ’s step 2 analysis gave proper weight to the


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 March 2005 admission to psychiatric unit at Methodist (R28); April 5, 2005 admission to psychiatric unit Id.; May
2, 2005 consultation for panic attacks (R29); May 5, 2005 report of anxiety and depression Id.; May 2005
hospitalization for depression Id.; October 2005 declaration of depression to Dr. Pinto (R30); February 2006
admission to psychiatric unit Id.; March 2006 annual psychiatric evaluation Id.; March 2006 admission to

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record. The broader assertion that if the ALJ had examined the entire treatment record, her

decision would have been different is perfunctory and, therefore, waived. U.S. v. Berkowitz, 927

F.2d 1376, 1384 (7th Cir. 1991) (“We repeatedly have made clear that perfunctory and

undeveloped arguments, and arguments that are unsupported by pertinent authority, are

waived”).

        Moss also contends that the ALJ did “not give proper weight to the claimant’s treating

physicians.” (Pet’r’s Br. 35). Moss asserts that the ALJ played doctor by refusing to give

controlling weight to his case manager’s June 7, 2006, report. He alleges that since Dr. Bitar

also signed the report, it “should have controlling weight as it is a statement of functional

impairments made by the treating physician.” Id. The paragraph Moss refers to addresses only

the case manager’s contribution to that report. The ALJ separately discusses Dr. Bitar’s

signature on page 11 of her opinion. (R36) Consequently, the case manager’s report need not

be given the deference due to a treating physician’s diagnosis but can be weighed like any other

evidence.

        Since the ALJ “is in the best position to determine a witness's truthfulness,” the court will

not overturn the ALJ’s “credibility determination unless it is ‘patently wrong.” Skarbek v.

Barnhart, 390 F.3d 500, 504 (7th Cir. 2004) (citing Zurawski v. Halter, 245 F.3d 881, 887 (7th

Cir. 2001)). The Court will uphold the ALJ’s assessment of witness credibility so long as there is

“some support” in the record for the finding. Berger v. Astrue, 516 F.3d 539, 546 (7th Cir. 2008)

(citing Schmidt v. Astrue, 496 F.3d 833, 842 (7th Cir. 2007)). Here, like in Berger, the witness’s

conclusion differed from the consulting physician’s conclusion. Berger, 516 F.3d at 446; (R704)

(Psychiatric Review Technique limitations). As early as 2002, treating physicians noted that

Moss exhibited “drug-seeking” behavior, (R366) a trend that continued throughout Moss’s

various treatments. (R1114, 1115, 1331, 1755) His physicians also noted behavior that


psychiatric unit (R31); October 2006 admission to psychiatric unit Id.; December 2006 appointment with his
psychiatrist, Dr. Bitar (R32), January 2007 visit to the emergency room for depression (R32).

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contradicted Moss’s claimed limitations and suggested that Moss had motivations beyond

obtaining medical help. (R1114) For example, Dr. Tracy, who treated Moss for panic attacks in

2005, wrote that Moss was able to keep “good eye contact,” and that “[h]is speech is clear,

coherent and goal directed.” Id. Dr. Attaluri, who treated Moss when he was admitted to

Methodist Medical Center for major depression in 2005, reported similar findings: that Moss was

not “actively psychotic;” there was “no evidence of hopeless, helpless feeling;” and that Moss

was, “[a]lert, oriented . . . [and] cognitively pretty much intact. (R98) Therefore, since there is at

least some support in the record for the ALJ’s determination, the Court must uphold her ruling.

       Even if the case manager’s report was given the deference due to a treating physician’s

opinion, the ALJ need not have found it credible because the report states that its conclusions

are based on observation and were “not the result of formal testing.” (R676) An ALJ need only

give controlling weight to an opinion if it is “well-supported by medically acceptable clinical and

laboratory diagnostic techniques.” Hofslien v. Barnhart, 439 F.3d 375, 376 (7th Cir. 2006) (Citing

20 C.F.R. §§ 404.1527(d)(2)). See Burton v. Barnhart, 203 Fed. Appx. 737, 741-42 (7th Cir.

2007) (holding that the ALJ did not need to find the opinion of one of Burton’s physicians

controlling because that opinion was based on subjective claims rather than objective tests).

Since the case manager’s report is based on observation instead of medically acceptable

diagnostic techniques, the ALJ did not err in making her credibility determination.

       All other claims that the ALJ played doctor by not giving controlling weight to Moss’s

treating physicians are perfunctory. Moss provides no specific examples or court cases to

support his argument. Consequently, these additional arguments are waived as perfunctory.

Berkowitz, 927 F.2d at 1384 (7th Cir. 1991) (“We repeatedly have made clear that perfunctory

and undeveloped arguments, and arguments that are unsupported by pertinent authority, are

waived”).

       Moss next argues that the ALJ erred in holding that Moss had not experienced episodes

of decompensation because the ALJ’s opinion did not take into account Moss’s hospitalizations

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between 2005 and 2008. However, the ALJ addressed Moss’s hospital visits later in the

opinion. As referenced before, the ALJ did not find them credible because treating physicians

repeatedly noted that Moss’s actions did not reflect his alleged symptoms and that certain

physicians suspected Moss of “manipulating to get himself into the hospital so he could get a

bed and other things.” (R1114) The ALJ has authority to find that hospital visits tainted by

drug-seeking behavior are not credible. Rasmussen v. Astrue, 245 F.App. 542, 546-47 (7th Cir.

2007). Additionally, none of the hospital visits lasted for more than two weeks, as required by

code, and Moss failed to show that the episodes lasted beyond the discredited hospital visits. 20

C.F.R. Part 404, Subpart P, Appendix 1. And although the consulting physician on Moss’s

Psychiatric Review Technique noted that Moss suffered one or two episodes of

decompensation, one or two episodes are insufficient to satisfy the functional criterion. (R704)

Consequently, the ALJ was within her authority in finding that Moss did not suffer episodes of

decompensation because Moss’s drug-seeking behavior and the insufficient length of those

visits provided “some support” for her determination.

       Moss also summarily argues that the ALJ needed to do a point by point analysis of the

Listings but provides no citations to the record or supporting cases. This argument is waived as

perfunctory. Berkowitz, 927 F.2d at 1384 (7th Cir. 1991) (“We repeatedly have made clear that

perfunctory and undeveloped arguments, and arguments that are unsupported by pertinent

authority, are waived”). Moreover, the ALJ sufficiently analyzed step 3. (R32) The ALJ found

that Moss did not meet the criteria for a spinal disorder because he did not have evidence of the

conditions listed under 1.04. (R32) When examining whether Moss met the criteria for an

affective disorder or a substance addiction disorder, the ALJ examined the Listings’ four steps.

(R34-35). She found that: (1) Moss had a mild daily living restriction because he could still pick

up after himself and do certain housework; (2) Moss had only moderate difficulties with social

functioning because he was capable of leaving his home and interacted pleasantly with

examiners; (3) Moss had only mild difficulties “with regard to concentration, persistence or pace”

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because Moss could read, watch television, and treating physicians had noted no “loss of

cognitive function” since his college years; and (4) there were no episodes of decompensation.

(R35)   Thus, the ALJ ruled that Moss did not satisfy any of the criteria, let alone two of them.

Consequently, the ALJ sufficiently analyzed the Listings before she determined that Moss did

not meet them, and the Court must uphold her ruling.

        Moss next contends that the ALJ erred in not finding Moss’s impairments to be credible.

Moss, however, misquotes the ALJ’s decision. The ALJ actually ruled that “the claimant’s

statements concerning the intensity, persistence and limiting effects of these symptoms are not

credible to the extent they are inconsistent with the residual functional capacity assessment for

the reasons explained below.” (R34) (emphasis added). The ALJ does not question that the

Moss is depressed and has back pain, or that these conditions are capable of causing someone

to suffer Moss’s alleged symptoms. Id. But the ALJ simply chose to give controlling weight to

medical evidence that contradicted Moss’s statements. (R34-35) Thus, the ALJ did not question

whether Moss’s impairments were credible, but rather whether Moss’s statements that were

contradicted by other evidence should be afforded controlling weight. Consequently, the ALJ

did not err because she discredited certain statements Moss made, not his impairments.

        Moss’s final contention is that the Commissioner failed to meet his burden of proof

because the VE’s use of ONET’s census codes precludes Moss from determining the

hypothetical’s accuracy. Moss invokes the McKinnie standard in support of this argument; the

McKinnie standard requires that the VE’s data be available “on demand.” Britton v. Astrue, 521

F.3d 799, 804 (7th Cir. 2008). This is not a case, like McKinnie, where the VE was unable to

provide the basis for his hypothetical. Mckinnie v. Barnhart, 368 F.3d 907,909 (7th Cir. 2004).

There is no evidence that the VE refused to make this data available to Moss. Additionally, the

VE is not required to limit his hypothetical to DOT data; the VE can also use outside data,

including ONET. See Lee v. Barnhart, 63 Fed. Appx. 291, 293 (9th Cir. 2003) (holding that the



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VE need only explain the use of an external source if it contradicts DOT). Therefore, the ALJ

did not err in holding that the Commissioner met its burden of proof.

       Additionally, Moss failed to object to the ONET system during the hearing and,

consequently, cannot raise this argument on appeal. Liskowitz v. Astrue, 559 F.3d 736, 744 (7th

Cir. 2009). In Liskowitz, the claimant argued that the VE could not use “the Occupational

Employment Quarterly” as a source for its hypothetical “because [the periodical] was published

by a private company.” Id. The court ruled that the claimant had “forfeited this argument by

failing to object to the VE’s testimony during the hearing.” Id. Moss’s attorney questioned the

VE about his use of ONET but did not object to its use. (R2138) Therefore, because Moss

failed to object to the ONET system at the hearing, Moss cannot object to it now. (R2136-2140)

Accordingly, the Court must uphold the ALJ’s determination.

                                         CONCLUSION

       For the reasons set forth herein, Plaintiff’s Motion for Summary Reversal [#10] is

DENIED, and the Commissioner’s Motion for Affirmance [#13] is GRANTED. This matter is now

TERMINATED.

       ENTERED this 22nd day of June, 2010.



                                                     s/ Michael M. Mihm
                                                     Michael M. Mihm
                                                     United States District Judge




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